









 02-10-427-CV














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&nbsp;

&nbsp;

COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

&nbsp;

NO. 02-10-00427-CV 

&nbsp;

&nbsp;


 
  
  In re Go Interests, LLC; Gregory
  Obert; Gwendolyn M. Obert; Go Helicopters, Inc.; Helitrans Company; Hilltop
  Commercial Holdings, Inc.; and Go Colorado 2007 Revocable Trust
  
  
  &nbsp;
  
  
  RELATORS
  
 


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ORIGINAL PROCEEDING

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MEMORANDUM OPINION[1]

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ------------

The
court has considered relators’ petition for writ of mandamus and is of the
opinion that relief should be denied.&nbsp;
Accordingly, relators’ petition for writ of mandamus is denied.

Relators
shall pay all costs of this original proceeding, for which let execution issue.

PER CURIAM

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&nbsp;

PANEL:&nbsp;
WALKER, DAUPHINOT, and MEIER, JJ.

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DELIVERED:&nbsp;
December 3, 2010











&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; [1]See
Tex. R. App. P. 47.4, 52.8(d).







